 Case CASE  0:21-cv-01267-SRN-TNL
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                     EASTERN DISTRICT OF MICHIGAN                   Cr^ &tx =uA
                          SOUTTIERN DTVISTON

                  AMERICAN
IN RE: COUNCIL ON AMERICAN                           Misc. Docket   No:    -</8"
                                                                                   oTl1r^
ISLAMIC RELATIONS, MICHIGAN,
                                                    JUDGE:
                Subpoenaed Non-Party.
                                                     MAGISTRATE,:

                  NON-PARTY CAIR-MI'S MOTION TO
             QUASH DEFENDANT'S SUBPOENA DUCES TECUM

Non-party Council on American Islamic Relation, Michigan ("CAIR-MI"), by and

through undersigned counsel, hereby moves, pursuant                 to    Fed.R.Civ.P.

45(dX3)(A);(B), to quash the subpoena duces tecum served by Asma Lori Haidri

Saroya ("Saroya"), the defendant in the underlying action, pending in the United

States   District Court for Minnesota. CAIR Foundqtion. Inc.. d/b/a/ Council on

American Islamic Relations & CAIRv. Asma Lori Haidri Saroya a.k.a. Lori Saroya,

Asma Saroya,    Lori Haidri, Lori Haidri-Saroya, & LH        Case   No. 2l-cv-01267

(SRN/TNL), because compliance would subject CAIR-MI to an undue burden,

intrude upon privileged and confidential information, expose CAIR0MI and its

supporters to harassment, and   inflict a scope of discovery grossly disproportionate

with Sorya's needs. A true and accurate copy of the subpoena is attached hereto       as


Exhibit A, while a description of the burden, privileges, confident\ality, harassment

and proportionality is provided in both the Momorandum of Support of this motion


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and the Declaration attached as Exhibit                B from the CAIR-MI board President                   and

Legal Advocacy Chair and its attachments.

      MEMORANDUM IN SUPPORT OF THE NON-PARTY CAIR.MI'S
      MOTION TO QUASH DE,FEIIDANT'S SUBPOENA DUCES ?'ECUM

I.       Background


         The underlying litigation centers on repeated public statements, typically on

social media, by Saroya denouncing CAIR for a multitude                             of sins, ranging from

owing her money, through seeking to intimidate her, to tolerating sexism and racism.

Even though CAIR commenced this litigation, Soraya has now served a subpoena

duces tecum on non-parfy CAIR-MI.t

         The place designated for CAIR-MI to produce voluminous documentation is

Recon Management Group, n-LC located at 30400 Telegraph Road, Suite 472,

Bingham Farms, MI 40825. Under Fed.R.Civ.P. 45, this Court is the court for the

district where compliance is required and the forum for resolving a motion to quash

a subpoena     ministerially issued at the request of Saroya's attorneys by the Minnesota

court in the underlying action.




1
 The subpoena duces tecum was improperly served to CAIR-Ml by placing it under the door of the Executive
Director's office at some unknown time most likely the weekend of October 1-3 and was found on or about
October 7th. The Subpoena was eventually served properly to the Executive Director after the close of business on
November ll.th when he was called back to the office after leaving for the day by a staff member solely for the
purpose of accepting service of the subpoena in question.
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             Saroya headed CAlR-Minnesota from 2007 through 2014 and then served as

CAIR's National Chapter Development Direetor and Board iVlember during the

period from 2016 to 2018. The underlying diversity litigation was commenced by

CAIR and alleges four counts: (1) defamation; (2) defamation per se; (3) tortious

interference with business relationships; and (4) misappropriation                of confidential
information.


[I.          Non-party Status of C.AIR-MI

             CAIR-MI is a separate legal entity from CAIR. CAIR-MI is registered, and in

good standing, as a nonprofit charitable organization with the Michigan State

Department of Licensing and Regulatory Affairs                   ("LARA";.    See Exhibit C and

Ahad Dec.           tT   6.

         In contrast, CAIR is a District of Columbia non-profit corporation that has

registered and trademarked the logo and name CAIR with the United States patent

and Trademark office. See Ahmad Dec fl 7

         CAIR-MI is a licensee of CAIR operating under an affiliation agreement. Id

at fl   8.   trn   the underlying action, Saroya has argue d      thx on its website CAIR refers

to its Chapters               across the   tlnited States and has declared that CAIR is actively

engaged        with operating its chapters. As to CAIR-MI, its "employment practices,

budgets, and finances have been controlled solely by CAIR-lr{l with no interference

from CA.IR," and it is controlled and managed solely by local board of directors of
     CaseCASE   0:21-cv-01267-SRN-TNL
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    CAIR-MI." Ahamd Dec flfl 9-11. Saroya has not suggested, moreover, that the

    chapters control CAIR.

          First, the licensing agreement and registration with LARA- CAIR is not so

    registered   -   establishes that     CAIR-MI is a separate legal entity.z Second, in his

    Declaration, CAIR-MI's board President expressly denies that CAIR governs or

    interferes with CAIR-MI's operations. Ahmad Dec.                    .fffl   9-11. Third, the Complaint in

the underlying action reproduces and incorporates Saroya's social media and other

communications, Y€t, apart from the undeveloped facts                                  of her sending any
communication to CAIR-MI, none of them refer to CAIR-MI or its employees.

Fourth, CAIR-MI had nothing to do with drafting or bringing the underlying action.

Id.1l23-24. Fifth,       CAIR-MI       has not alleged that Saroya engaged in misconduct when

she was employed by CAIR "                Id.   1122.3 Sixth,    CAIR-MI has no claim for damages

from saroya's social media postings or other statements. Id. At1Z5.4


nI"       Saroya's Subpoena Duces Tecum Is Remarkably Overbroad, Intrusiveo
          and Unduly Eurdensonne. on CAIR-VtrI




2
  Look up Ml Stature req registration of non profit corps here.
3
  A comprehensive search must apparently still be made to comply with Request No . 4: "All documents referring
to or relating to or reflecting or constituting evidence that Saroya has ever engaged in 'harassment, or ,abusive,
conduct of any kind." Notably, Saroya was never an employee at CAIR-Ml, and Saroya's argument that CAIR
reaches into the internal operations of "Chapters" does not stretch to insinuate that "Chapters" control CAIR.
a
  A comprehensive search must apparently still be made to comply with Request No.5: "All documents referring or
relating to or reflecting or constituting evidence that statements by Saroya have adversely affected your
                                                                                                           [defined
as CAIR-Mll or CAIR's fundraising revenue."
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      Saroya has made       27 substantive requests for production, prefaced         by

instructions and definitions, in her subpoena duces tecum. The definitions expand

the breadth at every tum, a dynamic captured by the preface -- "Notwithstanding any

definition below, each word,term, or phrase used in the Request is intended to have

the broadest possible meaning."     - and confirmed by the last definition: "If     the

requested documents are maintained in a file, the file folder is included in the request

for production of those documents." The inherently broad terms "concerning";

"relate"; and "relating to" are further defined to be boundaryless.

      For example, the first Request sought "[a]11 documents referring or relating to

Saroya, or in any way conceming Saroya, by whatever name"; the second for "[a]11

documents referring to or relating to or reflecting or constituting communications

between Saroya or any of Your officers, employees or directors, past or present";

and the third the sarne except without the "between" phrase. Only one Request had

a specific time period; the default time period is provided by Instruction No. 6,

"Unless otherwise stated, these Requests are for the period from 2An to the present."

Thus, ten years' worth of documents have been subpoenaed. CAIR-MI is not a

corporation staffed with informational technology experts. Most of its documents

are not even "stored in a manner susceptible to computer search and retrieval nor

otherwise indexed in any meaningful way or inventoried; consequently, compliance

with Defendant's subpoena duces tecum would require searching by hand, document
     CASE 0:21-cv-01267-SRN-TNL Doc. 81-1 Filed 12/01/21 Page 6 of 42
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by document." Ahmad Dec.$ 14. CAIR-MI's board President                 estimates that

compliance would necessitate hiring "multiple employees or contractors              to   go


through boxes and cabinets of documents" Id. :T14-18. CAIR-MI has three (3) full-

time and one (1) part-time employee "none of whom has a full-time information

technology or computer operator designation or duties." Id.

      Additionally, CAIR-MI does not utilize, own, or operate under a local

networking system, nor does CAIR-MI own, operate or utilize a central document

or data storage system. Each individual employee, officer, agent of CAIR-MI both

past and present have created, stored or otherwise saved documents on their

individual computers many of which were recycled in August of 2020 when CAIR-

MI moved offices fro* Farmington Hills, Michigan to its current location in Canton,

Michigan. Id at t1l9.

       CAIR has access to all work emails used by C,AIR-MI staff       as the emails are


on a server run, managed, and controlled by CAIR. Additionally, CAIR-MI staff are

also on various list serves which are run, controlled, and managed by CAIR and

these list serves have potentially thousands of emails which mention Defendant.           It

would be very burdensome and time-consuming for non-parfy CAIR-MI's staff to

 find relevant emails especially when considering the fact that the party to this

 lawsuit, CAIR, is the host and has access to all these emails. Id at tftl 20-21.
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      Request   No. 6 seeks     "[a]11 documents referring   to or reflecting donations,

gifts, or grants to You." As its full name indicates, the mission of CAIR-MI is to:

o'Enhance the understanding      of Islam, encourage dialogue, protect civil liberties,

empower American Muslims and build coalitions that promote justice and mutual

understanding through education, mediation, media and the law." Ahmad Dec. fl5

       CAIR-MI has endured attacks for protecting the right of Muslims in

Michigan. The board President "has observed the effects of politicalpolarization in

Michigan, particularly characterizingMuslim- Americans as enemies of the United

States, terrorists, andlor untrustworthy."       Id. at 26. He   described the specific

mistreatment CAIR-MI has suffered: "CAIR-MI's name has been mentioned by

elected officials   in iVlichigan as has the name of our executive director, Dawud

Walid, in an attempt to characterize CAIR-MI as untrustworthy and supporting

terrorism as enemies of the United States. CAIR-MI has received harassing and

threatening phone calls and letters from the public for over twenty years and in 2017

was warned by the Farmington Hills Police Department that the CAIR-MI office

was being targeted for a possibly violent attack prompting police officers to visit the

office to deliver the warning and to step up patrols in and around the vicinity of its

office for period of time." Id at fl'tl 27-28.

       "CAIR-MI maintains the anonymity of its contributors to the maximum extent

permitted by law, largely because of the political polarization and the way      it chills
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contributors." Id. at29. Production would smash that anonymify, be likely to expose

donators to retaliation, and be viewed by putative donors as posing such a risk. This

past term, the United States Supreme Court reaffirmed First Amendment protection

in such situations.

          California had required that charitable orgarizations "disclose to the state

Attorney General's Office the identities of their major donors." Americans for

Prosperity Found. v. Bonta, 141 S. Ct.2373,2379 (2021). Orgarrizations "alleged

that disclosure of their Schedule tss would make their donors less likely to contribute

and would subject them to the risk of reprisals." Id. at 2380. Quoting from NAACP

v. Alabama ex rel. Patterson,357 U.S. 449,462 (1958), the Court, 141 S.Ct. at2382'

    stated: "We have also noted     that'[i]t is hardly a novel perception that compelled

    disclosure of affiliation with groups engaged in advocacy may constitute as effective

    a restraint on freedom   of association as [other] forms of governmental action."'

          Recognizing that "NAACP v. Alabama involved this chilling effect in its

    starkest form," the Court proceeded      to declare California's requirement facially

    unconstitutional based on the type of threats and harassment CAIR-MI has received.

    Id. at 2382,2388 (recognizing that Googling and similar          searches can lead to

    residential and other sensitive information). The critical point was the recognition in

    NAACP v. Alabama,357 U.S. at 462, of "the vital relationship between freedom to

    associate and privacy in one's associations." Indeed, near the ending of its opinion,
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the Court, quoting from I{AACP v. Button,3Tl U.S. 415,433 (1963), stated: "The

risk of a chilling effect on association is enough, 'fb]ecause First Amendment

freedoms need breathing space to suryive."'

      The Court seemingly anticipated the type of response Saroya       will   make by her

invoking the protective order in the underlying case. Quoting from Sheltonv. Tucker,

364 U.S. 479,386 (1960), the    Court,l4l S.Ct. at2388, explained: "Our cases have

said that disclosure requirements can chill association '[e]ven         if there [is] no
disclosure to the general public."'The Court emphasized that "fe]xacting scrutiny is

triggered by 'state action which may have the effect of curtailing the freedom to

associate,' and   by the 'possible deterrent effect' of disclosure." Id. (citing with

emphasis added NAACP v. Alabama,357 U.S., at46 I).

      To bring home its holdin g, Banta, l 4 l S.Ct. at 2388, appreciated " [t]he gravity

of the privacy concerns" by citing amici curiae briefs, including "from the Council

on American-Islamic Relations [CAIR]." The same conclusion the Court then

reached applies to Saroya's subpoena duces tecum: "The deterrent effect feared by

these organizations is real and pervasive, even    if their concerns   are not shared by

every single charity operating or raising funds in California." Id. Furthermore, it

must be emphasized againthat non-parfy CAIR-MI has no claim for damages or loss

of donors or organization detriment from Saroya's social media postings or other

statements. Ahmad Dec. tf 25.
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      Saroya's Requests Nos. 7-12,24 seek "[a]11 documents referring or relating to

or rellecllng    constituting" all clarms
   reflecting or conslllullng      claims or a[egauons
                                             allegations mase against \-f\lr\-lvrl,
                                                         made agatnsr CAIR-MI,

including those by present or former employees and confidentiality or non-

disclosure agreements between CAIR-MI and those present or former employees."

Production would involve "employee personnel files, records or references to

discipline, and confidential, private information." Ahmad Decl. fl34.

      Requests Nos. 13-16,21-23 seek "[a]11 documents referring or relating to"

named individuals, yet, with one exception, none was "employed by CAIR-MI or

involved in anv non- trivial wav with the activities of CAIR-MI." Ahmad Decl. !T36.

      Request No. 17 sought    "[a]ll documents referring or relating to or constituting

consulting reports, internal or extemal investigative reports, or other reviews relating

in any way to Your management or Your handling of claims or grievances." Even

apart from any self-critical analysis privilege, Saroya's request has barely arguable

relevance while seeking ten years' worth           of   documents about CAIR-MI's

management and claims or grievances. To reiterate, CAIR has sued Saroya, and

CAIR-MI is a licensee, not a co-conspirator. The Complaint against Saroya by CAIR

which details Saroya's many denouncements of CAIR in her social media posts and

statements, does not consist of a single post or statement targeting CAIR-MI.

      Request No. 18 demanded production of "[a]11 documents referring or relating

to or constituting the testimony, whether by affidavit, deposition or otherwise of any


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of Your officers or employees in any judicial or administrative proceeding." Even

apart from any protective orders that sought to     limit use of such testimony to the

specific proceeding, Saroya's request is virtually a dictionary definition of a fishing

expedition. Proceedings ranging           from    unemployment compensation and

discrimination or retaliation claims through tax, landlord-tenant, and premises

liabilify to every other kind for the past ten years are sought. As before, Saroya     has


not posted on social media or made a statement alleging CAIR-MI mistreated her

during her employment with CAIR.

         Requests Nos. 19 and     20 seek "[   a]ll documents referring or relating to
regular meetings or conference calls between You, or any of Your officers or

employees, and CAIR's Executive Director, CAIR chapter officials, or CAIR senior

staff and, in the one Request with a 20 I 8- 19 timeframe, rather than for ten years, " I

a] I   I documents referring   or relating to or reflecting the work of any committee"

established    "to   evaluate CAIR's finances and related matters." The scope is

breathtaking: conference calls with CAIR senior staff occur frequently, cover     a   wide

range of topics, and are seldom documented, though references or documents

relating to them are natural. Whatever relevance Saroya claims is eclipsed by the

undue burden, particularly in light of the largely futile searches for any variation    of

her name.




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      Request No. 24 seeks "[a]11 documents referring or relating to or reflecting or

constituting communications between You, or any of your officers or employees,

and any officer, director or employee of any CAIR chapter or affiliate regarding

allegations of religious, gender or sexual discrimination, sexual harassment or

assault or retaliation." The breadth ignores the duty of a party to show that she and

her proposed comparators were similar in all relevant respects, and that he and his

proposed comparators engaged in acts of comparable seriousness." Bobo v. United

Parcel Serv., Inc., 665 F.3d741,757 (6th Cir. 2012). The disproportion is obvious:

Saroya was never employed        by CAIR-MI, let alone supervised by CAIR-MI

managers.

      Requests Nos.    25   and 26 seeks "[a]11 documents referring or relating   to or

reflecting or constituting tax filings of any kind by or on behalf of You, including

all schedules and amendments" and those on "compensation paid to Your officers or

directors." CAIR-MI treats its tax filings, apart from the 990 filing with the IRS that

is publicly available, as confidential and trade secrets. Ahmad Dec. ']f 38. Federal

courts generally resist discovery of tax returns. See, e.g., Poulos v. Naas Foods, Inc.,

959F.2d69,74 (7th Cir. 1992); Premium Serv. Corp. v. Spercy & Hutchinson Co.,

511 F.2d 225,229 (9th Cir. 1975).

      Request No. 27 seeks "[a]11 documents referring or relating to or reflecting or

constituting communications relating to the practice of law or the purported practice


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of law, or the provision of legal services or the purported provision of legal services,

by Monis Days, Roman lqbal, Danette Zachary-Mask and Lena Masri." CAIR-MI

has never had any involvement with Days and barely any involvement       w\thZachary-

Mask and Iqbal, and Masri was a firmer employee of CAIR-MI, she is currently in

the role of Legal Director for CAIR. Ahmad Dec. fl 4l-43 (Days andZachary-Mask

were never employed or supervised by CAIR-MI and even minor interactions with

Zachary-Mask did not involve Saroya). Every single case CAIR-MI has brought or

defended and most       of its administrative   docket for the past ten years are

encompassed by Request No. 27 and the entire file is sought, regardless of attorney-

client communication or work product, for each. Yet, "[n]one of CAIR-MI's

attorneys practice   of law or provision of legal   services has involved   in any non-

trivial way Defendant Saroya," Id. at 47, and "fc]omplying with Request No. 27

would require production of attorney-client communications and/or work product."

Id. at 48.


IV.   Rule 45 Empowers this Court to both Quash the Subpoena Duces Tecum
      and Award CAIR-MI Its Attorney's Fees and Costs.
      Fed.R.Civ.P. 45(dX3)(A) requires a subpoena to be quashed by "the court for

the district where compliance is required" when it either   "(iii) requires disclosure of

privileged or other protected matter,    if no exception or waiver applies; or (iv)
subjects a person to undue burden." Fed.R.Civ.P. 45(d)(3)(BXi) permits a subpoena

to be quashed if production results in "disclosing atrade secret or other confidential

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research, development, or commercial information." The undue burden analysis is

guided by the proportionality standard under Fed.R.Civ.P.26, though "a subpoena

issued against a nonparty" involves a "more demanding variant of the proportionality

analysis." Virginia Dep't of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir.), cert.

denied, 140 S.Ct. 672 (2019). "When discovery is sought from nonparties, however,

its scope must be limited even more." Id. Such third parties "should not be drawn

into the parties' dispute without some good reason, even if they have information

that falls within the scope of party discovery." Id.

      In the balancing, "courts should consider not just the relevance of information

sought, but the requesting party's need for it. The information sought must likely

(not just theoretically) have marginal benefit in litigating important issues.... Courts

should also consider what information is available to the requestingparty from other

sources. To that end, the requesting party should be able to explain why       it   cannot

obtain the same infonnation, or comparable information that would also satisfu its

needs, from one    of the parties to the litigationf .]" Id. at 189-90 (citations and

footnotes omitted). Beyond "the dollars-and-cents costs associated with a large and

demanding document production" are "cognizable burdens" such as "invading

privacy or confidentiality interests."   1d.     Fersonnel documents are especially

sensitive in this sense. Onwuka v. Federql Express Corp., 178 F.R.D. 508, 516-17

(D. Minn . 1997) ("the personnel files of an entire class of employees should not be


                                           1,4
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produced, even in an employment discrimination proceeding, absent a compelling

showing of relevance").

         The bottom line is that, "even   if relevant, discovery is not permitted where no

need is shown, or compliance would be unduly burdensome, or where harm to the

person from whom discovery is sought outweighs the need of the person seeking

diseovery ofthe inforrnatian"" Miscellqneous Docket Matter No. I v. Miscellaneous

Docket Matter No. 2,197 F.3d922,925 {8th Cir. 1999) (quotation omitted). Thus,

    "subpoenas issued under Rule 45 are subject to the same "constraints that apply to

all of the other methods of formal discovery."' Shukh v. Seagate Tech., LLC,295

F.R.D. 228,236-37 {D. Minn. 2013) (quoting Marvin Lumber & Cedar Co. v. PPG

Indus., trnc., 177 F.R.D.443,443 (D"Minn.1997)). Accord Cook v. Howard,484

    Fed.Appx. 805, 8I2 & n.7 (4th Cir.2012) (p"r curiam) {"This ground encompasses

    situations where the subpoena seeks information irrelevant to the case or that would

    require a non-party to incur excessive expenditure of time or money[.]").

         ln the Sixth Circuit, undue burden imposed by discovery is assessed on a case-

    by-case basis, "considering such factors as relevance, the need of the party for the

    docurnents, the breadth of the document request, the time period covered by it, the

    particularity with which the documents are described and the burden irnposed."      1lz


    re: Modern Plastics Corporation, Sg0 F.3d 244,251 (6th Cir. 2018) {internal

    quotation omitted;. While discovery is liberal, the "desire to allow broad discovery
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is not without limits and the trial court is given wide discretion in balancing the needs

and rights of both   plaintiff and defendant." Scales v. J.C. Bradford & Co., 925 F.2d

901, 906 (6th Cir. 1991). Overbroad requests that are unduly burdensome to produce

are improper. Surles ex rel. Johnson v. Greyhound Lines, Lnc.,474 F.3d 288, 305

(6th Cir. 2007) ("Although a plaintiff should not be denied access to information

necessary to establish her claim, neither may aplaintiff be permitted'to "go fishing"

and a trial court retains discretion to determine that a discovery request is too broad

and oppressive. "') (citation omitted).

      Rule 45(dX1) imposes a duty on Saroya and her attorneys: they "must take

reasonable steps to avoid imposing undue burden or expense on a person subject to

the subpoena." Subpoenaing ten years' worth of documents is unreasonable given

CAIR-MI's noninvolvement in the underlying litigation, its records maintenance,

and its small staff. See, e.g., Dakota Energt Coop., Inc. v. E. R.iver Elec. Power

Coop.,Izc., No. 4:2A-CY-04192-LLP,2021 WL 3852731, at *4 (D.S.D. Aug. 30,

2AZD ("[T]he court notes that the discovery requested would cover, at most, amatter

of a few months. Dakota Energy is not asking for years' worth of documents          as to


communications between third parties and East R.iver and Basin."). The remarkable

breadth of the requests is also unreasonable: "Eroad, permissible discovery does not

include requests for'a11 documents'that'relate in any way'to a complaint. See, e.g.,

Doe v. Nebraska" 788 F" Supp. 2d 975, 952 (D. Neb. 2011) (denying motion to


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:*"

compel answers     to   interrogatories that effectively sought identification       of   'all

documents related     in any way to this case' as 'a fishing           expedition')." JMIR

Marquette Hotel LLC v. Cty. of Hennepin, No. 27-CV-I9-5739,2A21WL 1288720,

at*7 (Minn. Tax Apr. 2,2021).

      Courts regularly strike such requests. See, e.g., WWP, Inc.              v. Wounded
Warriors Family Support,Inc.,628 F.3d 1032, 703S (8th Cir.201 l)(upholding the

district court's determination that a request seeking all donations during a lengthy

period was overbroad); Robbins v. Camden City Bd. of Educ., 105 F.R.D. 49, 50

(D.N.J. 1985). As explained in Doe v. Nebraska, 788 F. Supp. 2d975,982-83 (D.

Neb. 2}ll),asking for    "a11"   documents "that relate in any way" to allegations is "akin

to asking the defendants to identify     'a11   doeuments related in any way to this case."'

Saroya's requests are not quite that broad, but they are facially excessive in the same

way and the same conclusion - "The unfettered nature of these requests appears to

be a fishing expedition." Id. -applies. The blatant intrusion on privileged or

confidential areas is similarly indefensible.

      Rule 45(dxl) mandates awarding fees and expenses: "The court for the district

where compliance is required must enforce this duty fof talcing reasonable steps]

and impose an appropriate sanction- which may include lost earnings and reasonable

attorney's fees   - on a party or attorney who fails to comply." CAIR-MI is by all

accounts unrelated      to the underlying dispute between C,A.IR and Saroya" As              a
     CASE 0:21-cv-01267-SRN-TNL
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licensee, CAIR-MI is anon-party,and, as a factual matter, its involvement in any

w?y, shape, or form with Saroya has been less then peripheral. Her silence about

CAIR-MI in all of her noisy denunciations of CAIR is telling. No sufficient

.justification exists for pulling CAIR-MI into the underlying dispute, inflicting an

undue burden on it, and intruding on privileged or confidential information.


V"    Conclusion


For the foregoing reasons, Saroya's subpoena duces tecum should be quashed and

the fees and costs it incurred awarded.

                                               Respectfully Submitted,




                                               /s/Amy V. Ooukoure
                                               Amy V. Doukoure (P80461)
                                               CAIR-MI
                                               1905 S. Haggerfy Road, Suite 5
                                               Canton, MI 48188
                                               (248) sse-2247
                                               adoukoure(O,cair.eom
DATED: November 26, 2A2l




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                              CERTIFICATE OF SERVICE

This is to   certif
              that the foregoing was sent to the Clerk for filing this 26th day   of
November,Z\2l, via UPS and was served upon the following via email:

Alain Baudry (alain.baudry@sau1.com)
Steven Kerbaugh (steven.k erbaugh@saul. com )
Jef frey Robbb ins (je ffrey,. ro bb in s @ saul. c orn)
Joseph Lipchitz (j o seph. lipchitz@saul. co m )
Cindy B. Morgan (cmorgan@rubinfortunato.com)
Michael Fortunato (rnfortunato@rubinfortunato. com )
Carl E. Chrisensen (carl@elawotfice.com)




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                         EXHIBIT A
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           parfiership, associatiorq limited liability company or other legal entity of any kind or

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               documents referring or relating !o or reflecting or esncerning Hassm Shibly, Mejgan
            Afghan, Susanne Arani! Rifat Malik, or Karen Hernsndez.

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            All  documents refening or relating t,o or constiftrting communications between any of the
            following individuals and any pr$on or entity in any way rslated to claims, complaints or
            alleguions of religious, gender or sexual discriminarion, sexual h*rassment or retaliation:
            (U Ninad Awad; (2i lbrshim Hooper; (3) omar Ali; {a) Danette Zaghari-Mask; (5) Rauta
            Allouch; (6) Mesoud Nassimi; (6) A*rmed Al-shehab; (8) Artene El-Amin; (9) $anvat
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       material frvided to membm of the commifiee or used by the cammittee in its work.

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       frrndraising donations, contibutions or grants with any ofthe following individuals: Yasin
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       You, or my of your offlcen or ernployees, and atry officer, airector or ernployee of any
       CAIR chapter or affiliate regarding allegxions of rcligiouq gender or sexual
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                         EXHIBIT B
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   DECLARATION OF HAARIS AHMAD IN SUPPORT OF NON-PARTY CAIR-MI'S
        MOTION TO OUASH DEFENDANT'S SUBPOENA         ?ECUM
                                              'UCE,S


HAARIS AHMAD, declares, pursuantto U.S.C. g1746,that:


    1.   I was the former Executive Director for Council on American Islamic Relations, Michigan

("CAIR-MI") and currently hold the positions of President and Legal Advocacy Chair for CAIR-

MI's Board.

    2.   I was the Executive Director of CAIR-MI from September 2001 to August 2003.

    3.   I have been on the Board of GAIR-MI from August 2003 topresent.

    4.   I am personally familiar with the structure and operations of CAIR-MI and its relationship

to Plaintiff, CAIR Foundation, Inc., dlblalCouncil on American-Islamic Relations ("CAIR").

    5. The Mission    of CAIR-MI is to "enhance the understanding of Islam, encourage dialogue,

protect civil liberties, empower American Muslims and build coalitions that promote justice and

mutual understanding through education, mediation, media and the law."

    6.   CAIR-MI is a Michigan nonprofit corporation registered and in good standing     as a non-

profit corporation with the State of Michigan's Department of Licensing and Regulatory Affairs

("LARA";.

   7. CAIR-MI has independent        recognized 501(c)3 status from the United States lntemal

Revenue Service as a charitable organization.

   8.    CAIR, distinct from CAIR-MI, is a 501(c)3 recognized District of Columbia non-profit

corporation that has registered and trademarked the logo and name CAIR with the U.S. Patent

and Trademark Office.

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    9.    CAIR-MI is a licensee of CAIR pursuant to an affiliation agreement between CAIR-MI

and CAIR that provides that   CAIR-MI is authorized to utilize the branding   and trademark of   CAIR

so long as CAIR-MI remains current with payment of its affiliation fees.

    10.   CAIR-MI is a separate and distinct legal entity from CAIR.

    11.   CAIR-MI is controlled and managed solely by the board of directors of CAIR-MI.

    12.   CAIR-MI's employmentpractices, budgets, and finances    are, and have been, controlled by

CAIR-MI with no approval or interference from CAIR.

    13.   I have reviewed the Defendant's subpoena duces tecum.

    14. The entirety   of the requests is exceedingly broad, and includes the following    language

"[a]11 documents referring or relating   to Saroya, or in any way concerning Saroy4 by whatever

name," and "[a]ll documents referring to or relating to or reflecting or constituting communications

between Saroya or any of Your officers, employees, or directors, past or present."

    15.   Nearly all of the documents, including data, retained by CAIR-MI that are potentially

responsive to this subpoena are not stored in a manner susceptible to computer search and retrieval

nor otherwise indexed in any mssningful way or inventoried; consequently, compliance with

Defendant's subpoena duces tecum would require searching by hand, document by document, page

by page.

    16. There is no   limitation on the time frame for when the Defendant has requested production

of documents pursuant to her subpoena duces tecam and CAIR-MI has been in operation for over

twenty-years.

    17. CAIR-MI has a total of three (3) full-time employees and one (1) part-time employee, none

of whom has any fuIl and/or part-time information technology or computer operator designation

or duties.
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    18.   CAIR-MI employees work long hours to perform their official job duties and   are inundated

with demands on their time and energy.

    19. To comply    with Defendant's subpoena, CAIR-MI would need to hire fulItime employees

or contractors to go through boxes and cabinets of documents that could take a considerable

amount of time.

   20. Furthermore, CAIR-MI does not utilize, own, or operate under a local networking system,

nor does CAIR-MI own, operate or utilize a central document or data storage system. Each

individual employee, officer, agent of CAIR-MI both past and present have created, stored or

othenvise saved documents on their individual computers many of which were disposed of in a

compliant manner in August      of 2020 when CAIR-MI moved offices from Farmington Hills,
Michigan to its current location in Canton, Michigan.

   2I. All emails used by CAIR-MI staff are on a seryer    run, managed, and conholled by CAIR.

All new employees of CAIR-MI must submit       an application to CAIR for the creation of an email

address and access to Microsoft Outlook. CAIR has access to all work emails of   CAIR-MI staff.

   22.It will be very    burdensome and time-consuming for non-party CAIR-MI staff to find

relevant emails pertaining to Defendant. This problem compounded by the fact that CAIR-MI

employees are on several listservs created, controlled, and managed by CAIR which potentially

contain thousands of emails on which Defendant is copied or has participated in dealing with

matters which are mostly administrative and not related to the current lawsuit. CAIR has complete

access to these listservs and corresponding threads.

   23. CAIR-MI has not alleged any misconduct by Defendant Saroya.

   24. CAIR-MI did not participate in drafting the Complaint by CAIR or its attomeys.
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     25. CAIR-MI did not provide information to CAIR or its attorneys for use in drafting
                                                                                          the

 Complaint.

     26. CAIR-MI has not claimed any furancial losses        or   organuational detriment CAIR-MI

 suffered that are attributable to Defendant Saroya.

     27.Ihave observed the effects of political polaizatron in Michigan, particul arly charactenzing

 Muslim-Americans as enemies of the United States, terrorist, and,loruntrustworttry.

    28. CAIR-MI's name has been mentioned by elected offrcials in Michigan as has the
                                                                                      name         of
our executive director, Dawud Walid, in an attempt to characterize CAIR-MI as untrustworthv
                                                                                            and

supporting terrorism as enemies of the United States.

    29. CAIR-MI has received harassing and threatening phone calls and letters from
                                                                                    the public

for over twenty years and n20I7 was warned by the Farmington Hills Police Department
                                                                                     that the

CAIR-MI office was being targeted for a possibly violent attack prompting police officers to visit

the office to deliver the warning and to step up patrols in and around the vicinity
                                                                                    of its office for
period of time.

    30. CAIR-MI maintains the anonymity of its contributors to the maximum extent possible

under the law, largely due to the politicalpolaization and the way it chills contributors.

    31. Request No. 6 seeks   "[a]ll documents referring to or relating to or reflecting donations,
gifts, or grants to you."

    32. I believe the First Amendment to the United States Constitution protects the freedom
                                                                                                  of
CAIR-MI to engage in its activities and associate with its contributors while maintaining to the

maximum extent permitted by law the anonymity of those contributors.

   33. Complying with Request No. 6 would require disclosure of privileged information.
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     34. Requests No(s) 7-I2, 24 seek     "[a]ll   documents referring to relating to or reflecting or

 constituting" all claims or allegations made against CAIR-MI, including those by present or
                                                                                             former

 employees and confidentiality or non-disclosure agreements between CAIR-MI and those present

 or former employees.

     35. Complying with Requests No(s) 7 -I2,24 would require production of employee personnel

 files, records or references to discipline, and confidential private and trade secrets information.

     36. Requests No(s). 13-16,    2I-23 seek "[a]ll documents referring or relating to,, named
 individuals.

    37. Only one of those named individuals, Dawud Walid, Executive Director of CAIR-MI,
                                                                                         were

employed by CAIR-MI or involved in any non-trivial way with the activities of CAIR-MI.

    38. Producing all documents referring or relating to Dawud Walid is essentially a request
                                                                                              for
almost every record of GAIR-MI as he is the Executive Director.

    39. Requests No(s)' 25 and 26 seek "[a]ll documents referring or reflecting or constituting
                                                                                                tax

filings of any kind by or on behalf of You, including all schedules and amendments,, and those on

"compensation paid to Your officers or directors.,,

    40. Unless required by law, CAIR-MI does not publish tax filings sought by Request
                                                                                       No.25 or

the compensation paid to its officers or directors and instead treats them and the information
                                                                                               they

may contain as confidential trade secrets. CAIR-MI's 990 filing with the IRS is publicly
                                                                                         available.

    41. Complying with Request No. 25 would invade the protected secrecy of tax filings
                                                                                        and

compensation information.

   42. Request No. 27 seeks "[a]11 documents referring or relating to or reflecting or constituting

communications relating to the practice of law or the purported practice of law,
                                                                                 or the provision
     CASE 0:21-cv-01267-SRN-TNL
Case 2'.21-mc-51455-PDB-APP      Doc.
                            ECF No.   81-1
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of legal services, or the purported provision of legal services by Morris Days, Roman Iqbal,

Dannette Zachary-Mask and Lena Masri."

      43. Morris Days was employed by CAIR or a chapter in Herndon, Virginia and was never

employed, supervised, or engaged at any level with any position or protection involving CAIR-

MI.

      44.DanetteZachary-Maskhas been aNon-Profit and Compliance Attorney for CAIR and once

headed the Orlando, Florida CAIR chapter; she was never employed, supervised or actively

engaged in any position or project relating the practice   oflaw or the real or purported provision of

legal services by CAIR-MI, though she had provided some Board training and guidance relating

to CAIR-MI corporate structure that did not involve Defendant.

      45. LenaF. Masri is the National Litigation Director, General Counsel, and Acting   Civil Rights

Director of CAIR, and was previously Legal Director of CAIR-MI until around February 2017.

None of the cases she handled at CAIR-MI involved Defendant.

      46.To the best of my knowledge, no CAIR-MI staffer has had any contact since November

2019 with Defendant Saroya.

      47.To the best of my knowledge, Defendant Saroya has never visited the CAIR-MI office

during her tenure at CAIR.

      48. To the best of my knowledge, employees      of CAIR-MI did not regularly interact with

Defendant Saroya during her tenure at CAIR.

      49.To the best of my knowledge, none of CAIR-MI's attorneys practice of law or provision

of legal services has involved in any non-trivial way Defendant Saroya.

      50. Complying    with   Request   No. 27 would require production of             attorney-client

communications and./or work product.
Case CASE  0:21-cv-01267-SRN-TNL
     2:2L-nc-51455-PDB-APP        Doc.1-2,
                              ECF No.  81-1  Filed 12/01/21
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   51. Apart from a file started upon receiving Defendant's subpo ena duces tecum,I do not recall

CAIR-MI ever maintaining a paper or electonic file entitled      oosaroya"
                                                                             or compiling documents

based on Defendant Saroya's duties   while employed with CAIR.

   52. CAIR-MI was unaware of CAIR's lawsuit against Defendant Saroya until it was filed and

CAIR-MI   has not and does not maintain a paper or electronic   file related to that lawsuit.

   53. For the reasons reflected in the paragraphs above, enforcing Defendant's subpoena duces

tecum would subject CAIR-MI to an undue burden, intrude upon privileged information, expose

CAIR-MI and its supporters to harassment, and inflict             a   scope   of   discovery grossly

disproportionate with Defendants articulated needs.

   Executed this 23'd Dav of November 202I.




                                            By:
                                                      9a
                                                  Haaris Ahmad
     CASE 0:21-cv-01267-SRN-TNL
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                            ECF No.    81-1
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                        EXHIBIT C
      Case CASE   0:21-cv-01267-SRN-TNL
           2:23.-nc-51-455-PDB-APP      Doc.
                                    ECF No.   81-1
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     Ihrs ls to Ceftify That

     CAIR MICHIGAN, INC.

     was validly lncorporated on May 1 , 2000 as a Michigan nonprofit corporation, and said
     corporaticin is validty in existence u'nder the laws of this state.




     This certificafe rs issued p ursuant to the provisions of 1982 PA 162 to attest to the fact that the corporation
     is in good standing in Michigan as of ffils date and is duly authorized to conduct affairs in Michigan and for
     no other purpose.



     This ceftificate is in due form, made by me as the proper officer, and is entitled to have fullfaith and credit
     given it in every court and office within the United Sfafes.




                ffi
                w      ffi
            Sent by electronic fransmissrbn

          Certificate Number:     21   1 1   0583308
                                                                    In testimony whereof, I have hereunto set my hand,
                                                                    in the City of Lansing, this 23rd day of November , 2021.



                                                                        X,J,-rte
                                                                       Linda Clegg, Director
                                                                        Corporations, Securities & Commercial Licensing Bureau



Veriff this certificate at: URL to eCertificate Verification Search http://www.michigan.gov/corpveriffcertificate.
